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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION



     E.K. and S.K., minors, by and through their
     parent and next friend LINDSEY
     KEELEY; O.H., S.H., and H.H., minors,                 Case No. 1:25-cv-00637-PTG-IDD
     by and through their parent and next friend
     JESSICA HENNINGER; E.G., a minor,                     Hon. Patricia Tolliver Giles
     by and through his parent and next friend
     MEGAN JEBELES; E.Y and C.Y,
     minors, by and through their parent and
     next friend ANNA YOUNG; L.K., L.K.,
     and L.K., minors, by and through their
     parent and next friend ANNA KENKEL;
     and M.T., a minor, by and through her
     parent and next friend NATALIE
     TOLLEY,

                          Plaintiffs,

      V.



     DEPARTMENT OF DEFENSE
     EDUCATION ACTIVITY; DR. BETH
     SCHIAVINO-NARVAEZ, in her official
     capacity as Director of the Department of
     Defense Education Activity; and PETER
     BRIAN HEGSETH, in his official capacity
     as Secretary of Defense,

                          Defendants.




                                               ORDER


           Before the Court is Plaintiffs’ Unopposed Motion for
                                                                   Extension of Time to Respond t|
   Defendants’ Response in Opposition to Plaintiffs’ Motion
                                                                 for a Preliminary Injunction. Upoji
   consideration thereof and for good cause shown, it   hereby                                     j
           ORDERED that Plaintiffs’ motion is GRANTED; and it is further


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          ORDERED that Plaintiffs shall file any memorandum of law in reply to Defendants’

   Response in Opposition to Plaintiffs’ Motion for a Preliminary Injunction on or before May

   30. 2025. by 12:00 p.m.

                                                           Patncia Tolliver Giles
                                                           United States District Judge
    Entered this^^ day of May, 2025.
    Alexandria. Virginia                            Hon. Patricia Tolliver Giles
                                                     United States District Judge
